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                      UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF VIRGINIA
                                                                      2ir    -2 P 2: 01
                          Alexandria Division                    r-


UNITED STATES      OF AMERICA


            V.

                                        DOCKET NO. 1:17 -mj - lQ(^
ROBIN D.    FELT
                                        COURT DATE:   March 6,   2017


                           CRIMINAL   INFORMATION


                      COUNT I   (Misdemeanor 6933033)

THE UNITED STATES ATTORNEY CHARGES THAT:

     On or about February 22, 2017, at Fort Belvoir, Virginia,

within the special maritime and territorial jurisdiction of the
United States in the Eastern District of Virginia, the

defendant, ROBIN D. FELT, did unlawfully operate a motor vehicle

while under the influence of alcohol.

    (In violation of Title 18, United States Code, Section 13
assimilating Section 18.2-266 (ii), Code of Virginia 1950, as
amended.)
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